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 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11     DAMIAN EARLY,                                      Case No. 2:23-cv-2405-DJC-JDP (PS)
12                        Plaintiff,
13             v.                                         AMENDED ORDER TO SHOW CAUSE
14     RENEE HARDING, et al.,
15                        Defendants.
16

17           The court previously issued an order setting an initial scheduling conference for March

18    20, 2025, and directing the parties to file status reports by no later than March 6, 2025. ECF No.

19    27. Plaintiff timely submitted a status report. ECF No. 28. Defendants, however, failed to file

20    their own status reports.

21           Defendants will be ordered to show cause why sanctions should not be imposed for their

22    failure to timely file a status report. See E.D. Cal. L.R. 110 (“Failure of counsel or of a party to

23    comply with these Rules or with any order of the Court may be grounds for imposition by the

24    Court of any and all sanctions authorized by statute or Rule or within the inherent power of the

25    Court.”).

26           Accordingly, it is hereby ORDERED that:

27           1. The initial scheduling conference currently set for March 20, 2025, is continued to

28    April 24, 2025.
                                                         1
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 1             2. By no later than April 3, 2025, each defendant shall file a status report in accordance

 2    with the court’s January 29, 2025 order. See ECF No. 27.

 3             3. Defendants shall show cause, by no later than April 3, 2025, why sanctions should not

 4    be imposed for failure to comply with the court’s January 29, 2025 order.

 5             4. Failure to comply with this order may result in the imposition of sanctions, including a

 6    recommendation that defendants’ answers be stricken and their default entered.

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      IT IS SO ORDERED.
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      Dated:      March 19, 2025
10                                                        JEREMY D. PETERSON
                                                          UNITED STATES MAGISTRATE JUDGE
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